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                           UNITED STATES DISTRICT COURT
  14
                         CENTRAL DISTRICT OF CALIFORNIA
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  16    IN RE: NATIONAL FOOTBALL                  Case No.: 2:15-ml-02668−PSG
        LEAGUE’S “SUNDAY TICKET”
  17    ANTITRUST LITIGATION                      (JEMx)
  18
                                                  DISCOVERY MATTER
  19
        THIS DOCUMENT RELATES TO                  JOINT STATUS REPORT
  20    ALL ACTIONS                               PURSUANT TO COURT’S JULY 6
                                                  AND JULY 18 ORDERS
  21                                              REGARDING PRODUCTION OF
                                                  DOCUMENTS BY
  22                                              NBCUNIVERSAL MEDIA, LLC
  23                                              Magistrate Judge: Hon. John E.
                                                  McDermott
  24                                              Date/Time: 7/26/2022, 10:00 a.m.
                                                  Discovery Cutoff Date: 8/5/2022
  25                                              Pretrial-Conference Date: 2/9/2024
                                                  Trial Date: 2/22/2024
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   1         Pursuant to this Court’s July 18, 2022, Order concerning the production of
   2   documents from NBCUniversal Media, LLC (Dkt. No. 518), Plaintiffs and
   3   NBCUniversal Media, LLC (“NBCUniversal”) respectfully submit the following
   4   Joint Status Report regarding Plaintiffs’ Motion to Compel Production of
   5   Documents.
   6   I.    Joint Preliminary Statement
   7         On April 26, 2022, NBCUniversal produced a redacted copy of its rights
   8   agreement with Notre Dame for the distribution of Notre Dame football. On April
   9   29, 2022, NBCUniversal produced an unredacted version of its rights agreement with
  10   Notre Dame to Ned Diver, attorney for Plaintiffs, “[p]ursuant to the procedure
  11   outlined in the Court’s Order of February 3, 2022.” This Court’s February 3 Order
  12   outlined a process by which Plaintiffs and the NFL’s network broadcast partners
  13   (including NBCUniversal) could resolve disputes concerning redactions in their
  14   licensing and distribution agreements for football. The process established by that
  15   Order balanced two competing interests—the interest of Plaintiffs in assessing the
  16   propriety of redactions in the networks’ licensing and distribution agreements, and
  17   the interest of the networks in protecting their confidential business information.
  18         Using the framework established by this Court’s February 3 Order, Mr. Diver
  19   agreed to accept all redactions proposed by NBCUniversal except for the redaction
  20   of Section 4.3 and one sentence of Section 4.2(E). Accordingly, on July 5, Plaintiffs
  21   and NBCUniversal filed a Joint Stipulation Regarding Plaintiffs’ Motion to Compel
  22   Production of Documents by NBCUniversal Media, LLC. Dkt No. 519 (unredacted
  23   version proposed to be filed under seal); Dkt. 525 (filed under seal). In that Joint
  24   Stipulation, the parties set forth their positions concerning the propriety of the
  25   redactions on the contested provisions. See, e.g., Dkt. No. 525 at 4-6 (Plaintiffs’
  26   position); id. at 6-9 (NBCUniversal’s position).
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   1         After the parties filed their Joint Stipulation concerning Plaintiffs’ motion to
   2   compel, on July 6, this Court ordered NBCUniversal to “produce to Plaintiffs their
   3   licensing and distribution agreement(s) with Notre Dame in the unredacted form as
   4   proposed by Mr. Diver.” Dkt. No. 522. On July 7, pursuant to that Order,
   5   NBCUniversal produced to Plaintiffs a copy of its licensing and distribution
   6   agreement with Notre Dame with Section 4.3 and the one sentence of 4.2(E)
   7   unredacted, but with redactions on each other provision that the parties had agreed
   8   would remain redacted.
   9         On July 18, this Court issued a second order concerning NBCUniversal’s
  10   Notre Dame agreements. See Dkt. No. 549. In that Order, the Court sought detail on
  11   “how the information encompassed in Sections 4.3 and 4.2(E) will be used going
  12   forward if unredaction were ordered.” Id. at 1. Thus, the Court ordered Plaintiffs and
  13   NBCUniversal to submit a Joint Status Report by July 26 detailing “how the
  14   provisions will be used, i.e., how the provisions will be stored and used in motions
  15   and at trial if at all, and who will have access to the provisions under what conditions
  16   and subject to what safeguards to protect against inadvertent disclosure.” Id.
  17         As Plaintiffs and NBCUniversal discuss below, this Court’s second Order
  18   concerning the Notre Dame agreements (Dkt. No. 549) appears in tension with the
  19   Court’s first Order concerning those same agreements (Dkt. No. 522). The Court’s
  20   first Order ordered NBCUniversal to “produce to Plaintiffs their licensing and
  21   distribution agreement(s) with Notre Dame in the unredacted form as proposed by
  22   Mr. Diver.” Dkt. No. 522. But this Court’s second Order “orders the parties to submit
  23   a Joint Status Report on or before July 26, 2022 regarding how these two [disputed]
  24   provisions of the Notre Dame agreement will be utilized if unredacted,” but does not
  25   mention its previous July 6 Order. Dkt. No. 549.
  26         Nevertheless, on July 26, pursuant to the Court’s suggestion, see Dkt. No. 549
  27   at 2, Plaintiffs and NBCUniversal met and conferred to discuss what additional
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   1   protections Plaintiffs could offer to NBCUniversal to ensure that all provisions of the
   2   Notre Dame contract, including Section 4.3 and the one sentence of Section 4.2(E),
   3   would be protected during the instant litigation.
   4         Pending the outcome of this Joint Status Report, out of an abundance of
   5   caution, Plaintiffs have removed NBCUniversal’s licensing and distribution
   6   agreement with Notre Dame from their document-discovery platform.
   7   II.   Parties’ Contentions
   8         A.     Plaintiffs’ Position
   9         Plaintiffs have protected and will protect Section 4.3 and Section 4.2(E) from
  10   inadvertent disclosure in two ways.
  11         First, NBCUniversal’s production of its licensing and distribution agreement
  12   with Notre Dame is protected from disclosure by two protective orders. Those
  13   protective orders provide ample protection against the disclosure of confidential
  14   commercial information. NBCUniversal has not provided any reason why the
  15   protective orders would not secure NBCUniversal’s interests in this matter here.
  16         Indeed, pursuant to the terms of the Amended and Stipulated Supplemental
  17   Protective Order entered February 11, 2022, see Dkt. No. 422 (the “Protective
  18   Order”), NBCUniversal’s licensing and distribution agreement with Notre Dame is
  19   protected in crucial ways. NBCUniversal’s production of its licensing and
  20   distribution agreement with Notre Dame was designated as HIGHLY
  21   CONFIDENTIAL / COMMERCIALLY SENSITIVE pursuant to the terms of the
  22   Protective Order. See Dkt. No. 422. As set forth in that Protective Order, HIGHLY
  23   CONFIDENTIAL / COMMERCIALLY SENSITIVE information includes
  24   “sensitive material implicated in the negotiation and execution of affiliation
  25   agreements, and sensitive material implicated in the negotiation and execution of
  26   licensing agreements” including with “any NCAA athletic conference.” Protective
  27   Order ¶ 1.
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   1         The Protective Order then prohibits disclosure of HIGHLY CONFIDENTIAL
   2   / COMMERCIALLY SENSITIVE information to “any outside counsel in this
   3   litigation who has any responsibility for advising any person regarding the
   4   negotiation or execution of affiliation agreements or licensing agreements with . . .
   5   any NCAA athletic conference.” Protective Order ¶ 3.a.
   6         This restriction also applies to experts. Under the Protective Order’s terms,
   7   “[a]ny outside consultant or expert who receives” the Notre Dame contract “will not
   8   negotiate or advise any person with respect to the negotiation of affiliation
   9   agreements or licensing agreements with . . . any NCAA athletic conference . . . for
  10   a period of two years following the initial conclusion of this action in the district
  11   court. Protective Order ¶ 3.b. Plaintiffs negotiated this additional clause just for this
  12   purpose, and other third parties that contract for college football have found it
  13   sufficiently protective. Moreover, Plaintiffs will be disclosing the identity of their
  14   experts on August 19, 2022, pursuant to the Court’s deadline for expert reports
  15   accompanying class certification motions, information to which NBCUniversal will
  16   have access.
  17         Second, Plaintiffs have offered NBCUniversal three additional protections to
  18   ensure that Section 4.3 and the one sentence of Section 4.2(E) are protected from
  19   inadvertent disclosure during the litigation.
  20         1. Plaintiffs will submit to NBCUniversal a letter confirming that the
  21             provisions of the Protective Order specifically includes telecast rights
  22             agreements and amendments, such as those contained in the
  23             NBCUniversal’s production of the Notre Dame agreement. Thus, Plaintiffs
  24             will expressly agree that the provisions of the Protective Order apply to
  25             NBCUniversal’s production of the Notre Dame agreement, which was
  26             designated    as   HIGHLY       CONFIDENTIAL          /   COMMERCIALLY
  27             SENSITIVE and will treat it accordingly under the Protective Order.
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   1         2. Plaintiffs will provide three (3) days’ notice prior to filing or citing the
   2              relevant provisions in documents that would be filed on the docket or used
   3              in depositions other than the deposition of Comcast Corporation or
   4              NBCUniversal.
   5         3. Plaintiffs will file any document referencing the unredacted provisions,
   6              including the contract itself, under seal.
   7         In all, the protective orders that the parties have negotiated and this Court has
   8   entered, and the additional protections Plaintiffs offer here, are more than
   9   sufficient—and have been found to be more than sufficient for multiple third parties
  10   in this action—to ensure that Section 4.3 and the one sentence of Section 4.2(E)
  11   remain fully protected from inadvertent disclosure.
  12         B.      NBCUniversal’s Position
  13         NBCUniversal believes that there is tension between the Court’s July 6 (Dkt.
  14   No. 522) and July 18 Orders (Dkt. No. 549). For the reasons stated by NBCUniversal
  15   in the Joint Stipulation submitted by the parties on July 5 (Dkt. No. 519), the Court
  16   should deny the Plaintiffs’ Motion to Compel and enter the attached NBCUniversal
  17   proposed order. Alternatively, NBCUniversal and Plaintiffs have agreed to the list of
  18   additional protections for the provisions in question, as set forth by Plaintiffs’ on
  19   pages 4-5 above.
  20         The July 6 Order apparently required NBCUniversal to “produce to Plaintiffs
  21   their licensing and distribution agreement(s) with Notre Dame in the unredacted
  22   form,” as proposed by Mr. Diver, within three days of its order, while the July 18
  23   Order requires the Parties to provide this Joint Status Report outlining how the two
  24   provisions that NBCUniversal seeks to keep redacted would be utilized, “if
  25   unredacted.” The Court “agree[d] with NBC’s recommendation that the parties
  26   should meet and confer to discuss” whether solutions short of unredaction would
  27   satisfy Plaintiffs’ litigation needs. The July 18 Order does not mention the July 6
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   1   Order.
   2           For the reasons stated by NBCUniversal in the Parties’ Joint Status Report of
   3   July 5 (Dkt. No. 519), NBCUniversal believes that the provisions at issue, i.e., the
   4   last sentence of Section 4.2(E) and the entirety of Section 4.3, should remain
   5   redacted. 1
   6           Alternatively, if the Court orders in connection with this Joint Status Report
   7   the unredaction of the two disputed provisions, NBCUniversal and Plaintiffs have
   8   agreed to the list of additional protections as offered by Plaintiffs on pages 4-5 of this
   9   Joint Status Report and hereby accepted by NBCUniversal.2
  10           NBCUniversal respectfully asks that the Court hold that the disputed
  11   provisions remain redacted to prevent the risk of significant commercial prejudice
  12   that NBCUniversal would face if the contents of these provisions were disclosed,
  13   even inadvertently. NBCUniversal respectfully encloses the attached NBCUniversal
  14   Proposed Order to this effect.
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         As explained in the Parties’ Joint Status Report (Dkt. No. 519), although NBCUniversal appreciates the presence of
  26   the multiple protective orders in this matter, they are nonetheless insufficient to protect fully against inadvertent
       disclosure of the redacted information.
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        NBCUniversal and Plaintiffs agreed to these protections during their meet and confer on July 26, 2022. See Joint
       Status Report, July 26, 2022 at 2-3.
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